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                         EXHIBIT C
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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

-----------------------------------------------------x
TIMOTHY KARCHER, et al.,                              :
                                                      :        Case No. 16-cv-00232 (CKK)
                           Plaintiffs,                :
                                                      :
         -against-                                    :
                                                      :
ISLAMIC REPUBLIC OF IRAN,                             :
                                                      :
                           Defendant.                 :
-----------------------------------------------------------x

KELLI D. HAKE, et al.,                                    :
                                                          :    Case No. 17-cv-114 (TJK)
                             Plaintiffs,                  :
                                                          :
         -against-                                        :
                                                          :
BANK MARKAZI JOMHOURI ISLAMI                              :
IRAN, et al.,                                             :
                                                          :
                             Defendants.                  :
-----------------------------------------------------------x

                                  DECLARATION OF NICHOLAS BAUMHOER

 I, Nicholas Baumhoer, am over the age of 18 and am fully competent to make this declaration.

         Under penalty of perjury, I declare the following:

         1.        I am a plaintiff in these actions and a U.S. citizen. I was injured in an Explosively

Formed Penetrator (“EFP”) attack on April 27, 2010.

         2.        I was born on March 17, 1990 in Newburgh, Indiana, where I attended elementary

and high school. I ran track in elementary school and wrestled in junior high.

         3.        During high school, I decided to enlist in the U.S. Army. I wanted to serve for 20

years and then retire and live off of my military pension.
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       4.      I entered active duty service on June 4, 2008, and was assigned to the 1st Battalion,

37th Field Artillery Regiment, 3rd Stryker Brigade Combat Team, 2nd Infantry Division. We

deployed to Iraq about a year later, in July 2009.

       5.      I was riding in a MAXXPRO MRAP (Mine Resistant Ambush Protected) vehicle

on the morning of April 27, 2010 when our vehicle was struck by an EFP. I was medically

evacuated to our forward operating base and then to the Air Force Theater Hospital in Balad. About

two days later, I was transported to Landstuhl Regional Medical Center (“LRMC”) in Germany.

       6.      I was discharged from LRMC after less than a week and was not sent back to Iraq.

Instead, I returned to my base in Fort Lewis, Washington, where I stayed in a building with other

wounded veterans for a few weeks.

       7.      In June 2010, I returned to my regular housing in Fort Lewis and waited for my

unit to return from the deployment. I served in “area beautification,” i.e., I mowed the lawn around

the barracks. I was also on “CQ duty,” which meant I was in charge of quarters after hours. I’d

patrol the barracks and offices and would announce the arrival of high-level officers and first

sergeants.

       8.      I completed my active duty service on September 30, 2011 as a Specialist, E-4. I

returned to Indiana, where I joined the National Guard to finish up my Army contract. I had hoped

to extend my active duty service and become promoted to sergeant, but my first sergeant told me

I wasn’t going to be promoted.

       9.      I completed my service with the National Guard in August 2015. I remember that

each of my paychecks from the National Guard was about $300 (once a month).




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         10.   I worked other jobs in addition to the National Guard. For the first six months after

I returned home in 2011, I worked at a T.J. Maxx warehouse, earning $9.50/hour. I worked about

40 hours a week.

         11.   I then started work at Fluid Systems, Inc. between 2012-2018, which repaired oil

pumps. I started out at $12/hour and gradually increased until I earned about $16/hour. I worked

about 40 hours a week at that job too.

         12.   In 2018, the oil business slowed and I was laid off from my job.

         13.   I started grinding plastic at a company named Jamplast, in Mount Vernon, Indiana.

I worked there until March 2020, earning about $15/hour. I earned about $35,000 in 2019 and

$4,800 in 2020.

         14.   Before I quit, my wife and I started a pet business on January 1, 2020. We board

dogs in our house and also offer dog walking services. We earned about $1,800 a month in 2020.

         15.   I married my wife on May 15, 2013. Her son from a previous relationship was born

on February 2, 2010, and lives with us about 50% of the time. Our son was born on November 22,

2013.

         16.   I do not receive VA or combat compensation.




         Jan 12, 2021
Dated: _______________________
       Boonville, Indiana



                                                             ______________________
                                                             NICHOLAS BAUMHOER (Jan 12, 2021 11:55 CST)

                                                             Nicholas Baumhoer




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